




NO. 07-08-0362-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 9, 2008

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In the Interest of A.J.B. and A.K.B., Children



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FROM THE 237th DISTRICT COURT OF LUBBOCK COUNTY;



NO. 93-543,112; HON. SAM MEDINA, PRESIDING

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ON ABATEMENT AND REMAND

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant Mark David Bural appeals from the termination of his parental rights to his minor children A.J.B. and A.K.B. &nbsp;On September 25, 2008, the clerk’s record was filed. &nbsp;The reporter’s record was due on September 23, 2008. &nbsp;No extension motion or record was filed. &nbsp;On September 30, 2008, this court directed the court reporter by letter “to advise the Court of the status of the reporter’s record on or before October 10, 2007." &nbsp;In response, the court received an audio version of the hearing without a transcribed copy.

Accordingly, we abate this appeal and remand the cause to the 237th District Court of Lubbock County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;if there is a reporter’s record that can be transcribed in written form and, if so;



2. &nbsp;when the reporter’s record can reasonably be transcribed into written form and filed in a manner that does not further delay the prosecution of this appeal or have the practical effect of depriving the appellant of his right to appeal.





The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental clerk’s and reporter’s records transcribing the hearing with the clerk of this court on or before October 24, 2008. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before October 24, 2008.

It is so ordered.

Per Curiam

Do not publish.


